Case 1:20-cr-00133-CKK:. Document 1 Filed 07/23/20 Page 1of 3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on December 6, 2019

 

UNITED STATES OF AMERICA : CRIMINAL NO.
Vv. é UNDER SEAL
: 21 U.S.C. §§959(a), 960, and 963
MARTA JULIA LORENZANA-CORDON, : (Conspiracy to Manufacture and Distribute
. i Five Kilograms or More of Cocaine for
also known as “JULIE,” “YULIE,” i Importation into the United States) —
“JULIA,” and “MORENA,” | ;
; 21 U.S.C. §§ 853 and 970
Defendant. (Forfeiture)
INDICTMENT
The Grand Jury charges that:
COUNT ONE

Beginning in or around 2008, and continuing thereafter, up to and including 2019, the
exact dates being unknown to the Grand Jury, in the country of Guatemala and elsewhere, the
Defendant, MARTA JULIA LORENZANA-CORDON, also known as “JULIE,” “YULIE,”
“JULIA, ”and “ MORENA” and others known and unknown to the Grand Jury, did knowingly,
intentionally, and willfully combine, conspire, confederate and agree to manufacture and |
distribute five (5) kilograms or more of a mixture or substance containing a detectable amount of
cocaine, a Schedule II controlled substance, intending, knowing, and having reasonable cause to
believe that such substances would be unlawfully imported into the United States, in violation of

Title 21, United States Code, Section 959(a) and 960(b)(1)(B)(i); all in violation of Title 21, and —
Case 1:20-cr-00133-CKK Document1 Filed 07/23/20 Page 2 of 3

United States Code, Section 963.

With respect to the Defendant, the controlled substances involved in the conspiracy
attributable to the Defendant as a result of her own conduct, and the conduct of other conspirators
reasonably foreseeable to her, is five (5) kilograms or more of a mixture or substance containing a
detectable amount of cocaine, in violation of Title 21, United States Code, Section
960(b)(1)(B) (Gi).

(Conspiracy to Manufacture and Distribute five (5) kilograms or more of a mixture

or substance containing a detectable amount of cocaine, Intending, Knowing, or

Having Reasonable Cause to Believe that such substance would be Unlawfully

Imported into the United States, in violation of Title 21, United States Code,

Sections 959(a), 960(b)(1)(B)(ii), and 963.)

FORFEITURE ALLEGATION

The United States hereby gives notice to the Defendant that upon conviction of the Title
21 offense alleged in Count One of this Indictment, the Government will seek forfeiture in
accordance with Title 21, United States Code, Sections 853 and 970, of all property constituting
or sea from any proceeds thé Defendant obtained directly or indirectly as the result of the
alleged Title 21 violation, and all property used or intended to be used in any manner or part to
commit, and to facilitate the commission of such offense.
If any of the above-described forfeitable property, as a result of any act or omission of the
Defendant:
| (a) cannot be located upon the exercise of due diligence;
.(b) has been transferred or sold to, or deposited with, a third person;

(c) has been placed beyond the jurisdiction of the Court; :

(d) has been substantially diminished in value; or
Case 1:20-cr-00133-CKK Document1 Filed 07/23/20 Page 3 of 3

without difficulty;

has been commingled with other property which cannot be subdivided

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) to

seek forfeiture of any other property of the said Defendant up to the value of the above forfeitable

property.

(Criminal Forfeiture, in violation of Title 21, United States Code, Sections 853 and

970.)

A TRUE BILL:

 

Foreperson

 

MARLON COBAR

Acting Chief

Narcotic and Dangerous Drug Section
U.S. Department of Justice
Washingion, D-C:

  

 

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